833 F.2d 1006Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Lewis A. WOODLIFF, Petitioner-Appellant,v.Howard N. LYLES, Warden, Maryland Penitentiary, Respondent-Appellee.
    No. 87-6122.
    United States Court of Appeals, Fourth Circuit.
    Nov. 25, 1987.
    
      Before DONALD RUSSELL, K.K. HALL, and WILKINSON, Circuit Judges.
      Lewis A. Woodliff, appellant pro se.
      Ronald Mark Levitan, Office of the Attorney General, for appellee.
      PER CURIAM:
    
    
      1
      A review of the record and the district court's opinion discloses that this appeal from its order refusing habeas corpus relief pursuant to 28 U.S.C. Sec. 2254 is without merit.  Because the dispositive issues recently have been decided authoritatively, we deny a certificate of probable cause to appeal, dispense with oral argument, and dismiss the appeal on the reasoning of the district court.  Woodliff v. Lyles, C/A No. 87-1181-S (D.Md. July 14, 1987).
    
    
      2
      DISMISSED.
    
    